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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                        8:22CR4

        vs.
                                                                          ORDER
RAYMOND E. MCGAUGH,

                        Defendant.


       This matter is before the court on Defendant's UNOPPOSED MOTION TO EXTEND
PRETRIAL MOTION DEADLINE [19]. For good cause shown, I find that the motion should
be granted. Defendant will be given an approximate 60-day extension. Pretrial Motions shall be
filed by May 9, 2022.


       IT IS ORDERED:
       1.      Defendant's UNOPPOSED MOTION TO EXTEND PRETRIAL MOTION
DEADLINE [19] is granted. Pretrial motions shall be filed on or before May 9, 2022.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between March 10, 2022, and May 9, 2022, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).

       Dated this 10th day of March, 2022.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
